Fill in this information to identify the case:
  Debtor name: The Bellevue Hospital                                                                                                                                                            Check if this is an amended ling
  United States Bankruptcy Court Northern District of Ohio
  Case number (if known): ________________
                              25-30191

Official Form 204
Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                                                                                                                                     12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.


Name of creditor and complete mailing address, including Name, telephone number, and email address of            Nature of the claim(for example, Indicate if claim is   Amount of unsecured claim
zip code                                                 creditor contact                                        trade debts, bank loans,         contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                                 professional services, and       unliquidated, or       partially secured, fill in total claim amount and deduction for value of collateral
                                                                                                                 government contracts)            disputed               or setoff to calculate unsecured claim.

                                                                                                                                                                         Total claim, if     Deduction for value of collateral or
                                                                                                                                                                         partially secured   setoff                                     Unsecured Claim


                  DORNIER MEDTECH                            DORNIER MEDTECH
                  ATTN: ACCTS RECEIVABLE                     ATTN: ACCTS RECEIVABLE
1                                                                                                                TRADE PAYABLE                                                                                                                 $284,250.00
                  1155 ROBERTS BOULEVARD                     PHONE: 800 831 0859
                  KENNESAW, GA 30144                         EMAIL: ACCOUNTSRECEIVABLE@DORNIER.COM




                  INTUITIVE SURGICAL, INC.                   INTUITIVE SURGICAL, INC.
                  ATTN: ACCTS RECEIVABLE                     ATTN: ACCTS RECEIVABLE
2                                                                                                                TRADE PAYABLE                                                                                                                 $118,648.90
                  1020 KIFER RD                              PHONE: 408 523 2100
                  SUNNYVALE, CA 94086 5206                   EMAIL: AR_US@INTUSURG.COM




                  PRIORITY HEALTHCARE DISTRIBUTION           PRIORITY HEALTHCARE DISTRIBUTION
                  ATTN: ACCTS RECEIVABLE                     ATTN: ACCTS RECEIVABLE
3                                                                                                                TRADE PAYABLE                                                                                                                   $86,917.78
                  2297 SOUTHWEST BLVD STE D                  PHONE: 877 703 8266
                  GROVE CITY, OH 43123 1822                  EMAIL: PHDCOLLECTIONS@CURASCRIPT.COM




                  THE TOLEDO CLINIC                          THE TOLEDO CLINIC
                  ATTN: RYAN VICARS                          ATTN: RYAN VICARS
4                                                                                                                TRADE PAYABLE                                                                                                                   $83,880.50
                  4235 SECOR RD                              PHONE: 419 479 5605
                  TOLEDO, OH 43623                           EMAIL: RVICARS@TOLEDOCLINIC.COM




                  PRESS GANEY ASSOC., INC.                   PRESS GANEY ASSOC., INC.
                  ATTN: BUSINESS SERVICE DEPT                ATTN: BUSINESS SERVICE DEPT
5                                                                                                                TRADE PAYABLE                                                                                                                   $80,042.82
                  1173 IGNITION DRIVE                        PHONE: 800 232 8032
                  SOUTH BEND, IN 46601                       EMAIL: INVOICE@PRESSGANEY.COM




                  STRYKER SALES, LLC                         STRYKER SALES, LLC
                  ATTN: ACCTS RECEIVABLE                     ATTN: ACCTS RECEIVABLE
6                                                                                                                TRADE PAYABLE                                                                                                                   $79,689.74
                  21343 NETWORK PLACE                        PHONE: 800 733 2383
                  CHICAGO, IL 60673 1213                     EMAIL: JAMES.MCCARTHY1@STRYKER.COM




                  WEATHERBY LOCUMS, INC.                     WEATHERBY LOCUMS, INC.
                  ATTN: AUSTIN REMICK                        ATTN: AUSTIN REMICK
7                                                                                                                TRADE PAYABLE                                                                                                                   $75,536.10
                  641 N FEDERAL HWY #800                     PHONE: 801 930 3750
                  FORT LAUDERDALE, FL 33308                  EMAIL: AUSTIN.REMICK@CHGHEALTHCARE.COM




                  BOSTON SCIENTIFIC CORP.                    BOSTON SCIENTIFIC CORP.
                  ATTN: KAREN BOURQUE                        ATTN: KAREN BOURQUE
8                                                                                                                TRADE PAYABLE                                                                                                                   $66,249.99
                  100 BOSTON SCIENTIFIC WAY                  PHONE: 508 683 5925
                  MARLBOROUGH, MA 01752                      EMAIL: KAREN.BOURQUE@BSCI.COM




                  UT PHYSICIANS                              UT PHYSICIANS
                  ATTN: YUTONG WU                            ATTN: YUTONG WU
9                                                                                                                TRADE PAYABLE                                                                                                                   $66,249.99
                  MAIL STOP 840                              PHONE: 419 888 7184
                  TOLEDO, OH 43615                           EMAIL: YUTONG.WU@UTOLEDO.EDU




                  MERGE HEALTHCARE                           MERGE HEALTHCARE
                  ATTN: ACCTS RECEIVABLE                     ATTN: ACCTS RECEIVABLE
10                                                                                                               TRADE PAYABLE                                                                                                                   $64,049.09
                  900 WALNUT RIDGE DR.                       PHONE: 262 367 0700
                  HARTLAND, WI 53029 8347                    EMAIL: ARMERGEHEALTH@MERATIVE.COM




                 25-30191-maw                                Doc 3               FILED 02/05/25                              ENTERED 02/05/25 11:58:00                                                       Page 1 of 2
Debtor                                                                                                                                                                                                                                  25-30191
                                                                                                                                                                                                                Case number (if known) __________

Name of creditor and complete mailing address, including Name, telephone number, and email address of     Nature of the claim(for example, Indicate if claim is   Amount of unsecured claim
zip code                                                 creditor contact                                 trade debts, bank loans,         contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                          professional services, and       unliquidated, or       partially secured, fill in total claim amount and deduction for value of collateral
                                                                                                          government contracts)            disputed               or setoff to calculate unsecured claim.

                                                                                                                                                                  Total claim, if     Deduction for value of collateral or
                                                                                                                                                                  partially secured   setoff                                     Unsecured Claim


                                                        PROMEDICA PHYSICIAN GROUP
                    PROMEDICA PHYSICIAN GROUP
                                                        ATTN: ONTHA OBERLEY
                    ATTN: ONTHA OBERLEY
11                                                      PHONE: 567 585 9600                               TRADE PAYABLE                                                                                                                   $63,200.00
                    MSC S2339
                                                        FAX: 419 472 4359
                    TOLEDO, OH 43604
                                                        EMAIL: ONTHA.OBERLEY@PROMEDICA.ORG




                    MEDLINE INDUSTRIES, INC.            MEDLINE INDUSTRIES, INC.
                    ATTN: NEDRA WARE HOOD               ATTN: NEDRA WARE HOOD
12                                                                                                        TRADE PAYABLE                                                                                                                   $59,811.99
                    THREE LAKES DRIVE                   PHONE: 224 931 7338
                    NORTHFIELD, IL 60093 2753           EMAIL: NWARE HOOD@MEDLINE.COM




                    RIVERSIDE RAD & INTERVENTIONAL      RIVERSIDE RAD & INTERVENTIONAL
                    ATTN: ASHLEY FAYZLYEV               ATTN: ASHLEY FAYZLYEV
13                                                                                                        TRADE PAYABLE                                                                                                                   $57,250.00
                    100 E CAMPUS VIEW BLVD, STE 100     PHONE: 614 753 9831
                    COLUMBUS, OH 43235                  EMAIL: AFAYZIYEV@LUCIDHEALTH.COM




                    OHA: ASSOCIATION FOR HOSPITALS      OHA: ASSOCIATION FOR HOSPITALS
                    ATTN: SCOTT BORGEMENKE              ATTN: SCOTT BORGEMENKE
14                                                                                                        TRADE PAYABLE                                                                                                                   $57,223.08
                    65 EAST STATE ST., STE. 500         PHONE: 614 221 7614
                    COLUMBUS, OH 43215 3640             EMAIL: ACCOUNTING@OHIOHOSPITALS.ORG




                                                        CHANGE HEALTHCARE
                    CHANGE HEALTHCARE
                                                        ATTN: ACCTS RECEIVABLE
                    ATTN: ACCTS RECEIVABLE
15                                                      PHONE: 866 371 9066                               TRADE PAYABLE                                                                                                                   $54,400.34
                    100 AIRPARK CENTER DRIVE EAST
                                                        EMAIL:
                    NASHVILLE, TN 37217
                                                        CUSTOMEROPERATIONSFINANCE@OPTUM.COM




                    WADSWORTH SLAWSON NW                WADSWORTH SLAWSON NW
                    ATTN: ANDREA PHILLIPS               ATTN: ANDREA PHILLIPS
16                                                                                                        TRADE PAYABLE                                                                                                                   $52,630.28
                    1500 MICHAEL OWENS WAY              PHONE: 419 861 8181
                    PERRYSBURG, OH 43551                EMAIL: APHILLIPS@WADSWORTHLSC.COM




                    EMERGENCY PROFESSIONAL              EMERGENCY PROFESSIONAL
                    ATTN: ACCOUNTING DEPT               ATTN: ACCOUNTING DEPT
17                                                                                                        TRADE PAYABLE                                                                                                                   $50,000.00
                    307 SOUTH EVERGREEN AVE             PHONE: 937 312 3317
                    WOODBURY, NJ 08096                  EMAIL: KELLY_KLEINHENZ@TEAMHEALTH.COM




                    ZIMMER BIOMET                       ZIMMER BIOMET
                    ATTN: CUSTOMER SERVICE              ATTN: CUSTOMER SERVICE
18                                                                                                        TRADE PAYABLE                                                                                                                   $45,397.71
                    14235 COLLECTION DRIVE              PHONE: 866 865 1695
                    CHICAGO, IL 60693                   EMAIL: CSF@ZIMMERBIOMET.COM




                    BAYLESS PATHMARK, INC.              BAYLESS PATHMARK, INC.
                    ATTN: ACCTS RECEIVABLE/YILAN        ATTN: ACCTS RECEIVABLE/YILAN
19                                                                                                        TRADE PAYABLE                                                                                                                   $42,705.00
                    19250 E BAGLEY RD                   PHONE: 440 826 0384
                    MIDDLEBURG HEIGHTS, OH 44130        EMAIL: YILANC2@GMAIL.COM




                    AESTO HEALTH                        AESTO HEALTH
                    ATTN: MICHELE GALLANT               ATTN: MICHELE GALLANT
20                                                                                                        TRADE PAYABLE                                                                                                                   $40,188.00
                    1800 INTERNATIONAL PARK DR          PHONE: 866 558 8098
                    BIRMINGHAM, AL 35243                EMAIL: MGALLANT@AESTOHEALTH.COM




Official Form 204                                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unecured Claims                                                                              Page 2


                    25-30191-maw                        Doc 3              FILED 02/05/25                             ENTERED 02/05/25 11:58:00                                                       Page 2 of 2
